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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 95-00084-CR-JAL

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  EVELYN CECILIA BOZON PAPPA,

        Defendant.
  ____________________________________/

      EVELYN BOZON PAPPA’S REPLY IN SUPPORT OF COMPASSIONATE RELEASE

          The Government agrees that Ms. Bozon’s “26 years of imprisonment fully meets the

  criteria of 18 U.S.C. § 3553” and that “equitable considerations would support the sentence

  reduction that she seeks.” DE 471 at 6. The Government agrees that Ms. Bozon suffers from

  “obesity, which in her case is quite serious, and hypertension” and that she is a former smoker. Id.

  at 2. The Government concedes that Ms. Bozon has met the statutory exhaustion requirement. Id.

  at 1. It opposes Ms. Bozon’s release only because she has received the COVID-19 vaccine. Id. at

  3. The Government’s misplaced and incomplete argument about the vaccine does not justify

  denying Ms. Bozon compassionate release. This Court should grant Ms. Bozon’s motion.

   I.     Vaccination does not end Ms. Bozon’s risk of severe illness from COVID-19.

          Ms. Bozon is a 59-year-old Latina former smoker who suffers from obesity and

  hypertension. Unquestionably, she has a grave risk of severe illness should she contract COVID-

  19. 1 Notwithstanding her documented risk for severe illness, the Government claims that risk

  “evaporates in light of the fact that she has been vaccinated against it.” Id. at 2-3. Not so.



  1
   Ms. Bozon’s combination of serious health problems includes obesity, history of smoking,
  hypertension, hyperthyroidism, idiopathic peripheral autonomic neuropathy, history of kidney
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         To support its theory, the Government cites three sources. 2 For each source, the

  Government leaves out crucial information that reveals vaccine limitations, especially for

  individuals with obesity. Indeed, the sources, along with the WHO and the CDC, state plainly that

  vaccination does not eliminate the risks COVID-19 poses. See also Ex. 1 (Dr. William Weber

  Declaration dated Mar. 11, 2021). This is especially true for Ms. Bozon because she is obese and

  because while incarcerated she is more vulnerable to the new COVID-19 variants.

         As one district court held, “Risk appears to remain, but it is reduced to an unknown degree.

  The Court’s conclusion is that vaccination during the pendency of the Motion for Compassionate

  Release …should not, and does not, in some way trump the Court’s consideration of the motion.”

  United States v. Manglona, Case No. CR14-5393RJB, DE 205 at 3 (W.D. Wash. Mar. 3, 2021).

  That district court then granted compassionate release to a person who had been vaccinated. This

  Court should do the same.

         The Moderna vaccine is not 100% effective. Ms. Bozon’s risk of severe illness still exists

  and meets the extraordinary and compelling basis to release her. The Government ignored the




  stones and urinary tract infection, vitamin D deficiency, history of acute upper respiratory
  infections, and history of vaginal bleeding and endometrial concerns. (DE 468 at 1; DE 468-4).
  2
    Science in 5, Episode #20-COVID-19- Variants & Vaccines, World Health Organization
  (WHO) (Jan. 8, 2021), https://www.who.int/emergencies/diseases/novel-coronavirus-
  2019/media-resources/science-in-5/episode-20---covid-19---variants-vaccines (interviewing
  WHO’s Chief Scientist in a five-minute social media series on the more infectious COVID-19
  variants, vaccines, and engaging in practices like social distancing to reduce transmission);
  Daniel Hernandez and Sarah Toy, New COVID-19 Strains: What Scientists Know About
  Coronavirus Variants, Wall Street Journal (Feb. 26, 2021), https://www.wsj.com/articles/new-
  covid-19-strains-what-scientists-know-about-coronavirus-variants-11609466017 (explaining
  scientists’ concerns about the more transmittible and deadly COVID-19 variants); Cate Varney,
  Will the COVID-19 Vaccine Work as Well in Patients with Obesity?, The Conversation (Feb. 8,
  2021), https://theconversation.com/will-the-covid-19-vaccine-work-as-well-in-patients-with-
  obesity-152782 (describing Pfizer vaccine trials and the benefits of regular exercise and
  prebiotics and probiotics foods in increasing vaccine effectiveness, which are not available to
  people on lockdown in BOP facilities).
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  CDC’s express concern for the vaccine’s reduced effectiveness for people with obesity, like Ms.

  Bozon, and how her race/ethnicity compounds the risk of severe illness. 3 In fact, each source in

  the Government’s Response confirms experts’ elevated concerns about the vaccine’s long-term

  effects, its effectiveness against variants, and its decreased effect on people with obesity. 4

         The Government’s first source is an article about Pfizer vaccine lab test results. The

  Government attempts to use the article as proof that COVID-19 is not an issue for people with

  obesity. 5 However, Ms. Bozon received the Moderna vaccine, not Pfizer. DE 468-4 at 440. The

  article does not mention the Moderna vaccine.

         Yet, even regarding the Pfizer vaccine, the article noted, “More data is needed before we

  know precisely how patients with excess weight and obesity respond to vaccines when compared

  to the rest of the population. …Even just one year from now, we will look back and be amazed at

  all we have learned about COVID-19.” 6 Scientists will evaluate whether the vaccine was effective

  on people with obesity by how many people die or become severely ill from COVID-19 after

  obtaining the vaccine. The Government invites the Court to take a chance on Ms. Bozon’s life




  3
    https://www.cdc.gov/obesity/data/obesity-and-covid-19.html.
  4
    See https://www.nytimes.com/live/2021/03/09/world/covid-19-coronavirus/in-canada-
  residents-of-once-ravaged-nursing-homes-are-vaccinated-but-still-isolated (explaining the many
  reasons why Canadian nursing homes refuse to loosen COVID-19 restrictions even though the
  residents received vaccines, including the variants, unknowns about the vaccine, and citing a
  Canadian study of nursing home residents and their families that “found that a majority reported
  a marked decline in cognitive function and emotional well-being, and almost half reported that
  their physical functioning had worsened”).
  5
    See DE 471 at 3 (citing Varney, https://theconversation.com/will-the-covid-19-vaccine-work-
  as-well-in-patients-with-obesity-152782). Dr. Varney also wrote a piece sounding the alarm
  about all the ways people with obesity are at higher risk of severe illness with COVID-19.
  https://theconversation.com/covid-19-reveals-how-obesity-harms-the-body-in-real-time-not-just-
  over-a-lifetime-147810.
  6
    https://theconversation.com/will-the-covid-19-vaccine-work-as-well-in-patients-with-obesity-
  152782.
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  based on information that may not be known until next year, at the earliest. This Court should

  decline the invitation.

         Even when a healthy person is vaccinated, the purported protection is not permanent. The

  WHO warns, “Because COVID vaccines have only been developed in the past months, it’s too

  early to know the duration of protection of COVID-19 vaccines. Research is ongoing to answer

  this question.” 7 The CDC also unequivocally admits, “We don’t know how long protection lasts

  for those who are vaccinated.” 8 As new research develops, the need for boosters and additional

  vaccines may become necessary. This defeats the Government’s claim that Ms. Bozon’s

  vaccination ends her high risk of severe illness due to COVID-19.

         Additionally, scientists recently identified a newly-sequenced variant originating in

  Oregon 9 that has a similar makeup as the variant found in Britain; “both more contagious, and

  more deadly, than the original version.” 10 This Oregon variant, however, has an additional

  troubling mutation similar to those found in South Africa, Brazil, and New York City. 11 Because

  the variant found in South Africa reduces people’s immune response and reduces the vaccine’s

  effectiveness, Moderna has “begun testing new versions of their vaccine.” 12 That vaccine

  manufacturers need to create boosters and new vaccines to combat the deadly variants proves that

  Ms. Bozon’s high risk of severe illness or death remains real, not speculative.




  7
    https://www.who.int/emergencies/diseases/novel-coronavirus-2019/question-and-answers-
  hub/q-a-detail/coronavirus-disease-(covid-19)-vaccines.
  8
    https://www.cdc.gov/coronavirus/2019-ncov/vaccines/faq.html (Updated Feb. 25, 2021).
  9
    https://outbreak.info/situation-
  reports?country=United%20Kingdom&country=United%20States&division=California&pango=
  B.1.1.7&muts=S%3AE484K&selected=United%20States&selectedType=country.
  10
     https://www.nytimes.com/2021/03/05/health/virus-oregon-variant.html (Mar. 5, 2021).
  11
     Id.
  12
     Id.
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         Although the BOP has not publicized whether it has traced variants in its facilities, other

  prison facilities in the United States have admitted to identifying the harsher, more contagious

  British variant in Michigan 13 and Maryland. 14 To make matters worse, a Colorado prison revealed

  on March 7, 2021, that it identified the even more dangerous variant from South Africa in its

  facility. 15 Florida has the most variants of any state. 16 Undoubtedly, Ms. Bozon is at risk of severe

  illness, including death, from these variants at FCI Tallahassee.

         The Government’s second source, which it uses to argue that the COVID-19 variants are

  not a problem, is a Wall Street Journal article. DE 471 at 3. However, the Government omitted

  that the reporter warned about the increased mortality of the British variant. 17 Further, the article

  was based on tests conducted in a lab. Lab tests, do not, in any way, reflect conditions in a prison

  that has had one of the highest COVID-19 rates in the nation. Lab tests do not disprove Ms.

  Bozon’s valid risk for severe illness from COVID-19 in prison.

         Further, WHO Chief Scientist Dr. Soumya Swaninathan, who the Government referred to

  in its third and final source, DE 471 at 3, states that all people, vaccinated or not, should practice

  social distancing, quarantining, wearing a mask, and avoiding crowded and closed spaces. 18 “All




  13
     https://www.usatoday.com/story/news/nation/2021/02/17/uk-variant-covid-michigan-prison-
  bellamy-creek/6779162002/.
  14
     https://www.baltimoresun.com/coronavirus/bs-md-coronavirus-prisons-maryland-united-
  kingdom-20210222-dkxkwm3kdbbbxf2gfocv5jij5q-story.html.
  15
     https://www.canoncitydailyrecord.com/2021/03/07/colorado-south-african-covid-variant/.
  16
     CDC, US COVID-19 Cases Caused by Variants (Updated Mar. 7, 2021),
  https://www.cdc.gov/coronavirus/2019-ncov/transmission/variant-cases.html.
  17
     https://www.wsj.com/articles/new-covid-19-strains-what-scientists-know-about-coronavirus-
  variants-11609466017.
  18
     https://www.who.int/emergencies/diseases/novel-coronavirus-2019/media-resources/science-
  in-5/episode-20---covid-19---variants-vaccines. See also Declaration of Dr. Marc Stern,
  Manglona, No. CR14-5393RJB, DE 204-1 (Feb. 25, 2021) (warning that “continued
  incarceration exposes [a vaccinated person] to a higher risk of infection and its complications
  than being in the community”).
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  of these things together definitely make a difference in bringing down transmission,” Dr.

  Swaninathan stated. Id.

         While incarcerated, Ms. Bozon cannot take these precautions to keep herself safe, which

  the Government admitted to in its Response. DE 471 at 2. The Government confessed that the

  Attorney General conceded that “preventive measures against infection, including maintaining

  social distancing, mask-wearing, and careful sanitation were difficult in most prison

  environments.” Id. 19

         Even after conceding she had extraordinary and compelling health conditions, the

  Government wants the Court to force Ms. Bozon to languish in a prison that had the highest rate

  of COVID-19 cases in the nation for weeks. This Court should reject the Government’s arguments

  and should “not allow [Ms. Bozon] to be endangered for one more day. Every day – indeed, every

  minute – may count, particularly for someone like [Ms. Bozon] who is at a high-risk from COVID-

  19 and currently lives in a facility with a documented outbreak and limited means of protection.”

  United States v. Park, 456 F. Supp. 3d 557, 563 (S.D.N.Y. 2020). The Court should find

  extraordinary and compelling reasons to reduce Ms. Bozon’s sentence, despite access to the

  Moderna vaccine that only confers imperfect, reduced protection.

   II.   A history of smoking is a history of smoking.

         The Government admits that Ms. Bozon is a former smoker. DE 471 at 2. It ignores the

  CDC’s declaration that “[b]eing a current or former cigarette smoker increases your risk of severe



  19
     Courts have well established that “detention conditions create a heightened risk of danger to
  detainees.” United States v. Milner, 461 F. Supp. 3d 1328, 1334 (M.D. Ga. 2020) (citations
  omitted); see also United States v. Brown, 457 F. Supp. 3d 691, 695 (S.D. Iowa 2020) (“Already
  ‘tinderboxes for infectious disease,’ prisons now are even more dangerous than we typically
  accept.”); United States v. Beam, No. 417CR00463MHHGMB1, 2020 WL 7327988, at *4 (N.D.
  Ala. Dec. 11, 2020) (acknowledging detention facilities are pandemic tinderboxes) (citation
  omitted); United States v. Mueller, 471 F. Supp. 3d 625, 627 (E.D. Pa. 2020) (same).
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  illness from COVID-19.” 20 When a person stopped smoking and how regularly they had smoked

  does not matter, per the CDC’s directive. People with a history of smoking are at high risk of

  severe illness if they contract COVID-19.

   III.   This Court has discretion to decide Ms. Bozon’s life sentence and improper medical
          treatment qualify as extraordinary and compelling reasons to release her.

          Ms. Bozon has shown abundant extraordinary and compelling reasons why her serious

  medical conditions, in light of COVID-19, warrant compassionate release, but the Court may

  release Ms. Bozon on other grounds. Judges are not bound by the policy statement of § 1B1.13

  because the First Step Act made the policy statement “‘inapplicable’ to cases where an imprisoned

  person files a motion for compassionate release.” 21 United States v. Jones, 980 F.3d 1098, 1109

  (6th Cir. 2020) (citing United States v. Brooker, 976 F.3d 228, 237 (2d Cir. 2020)). Courts in this

  District have agreed with the majority of district courts and the Second, Fourth, Sixth, and Seventh

  Circuits that courts have discretion to determine what qualifies as extraordinary and compelling

  circumstances. See United States v. Cano, No. 95-CR-00481, 2020 WL 7415833, *2-3 (S.D. Fla.

  Dec. 16, 2020) (holding that the First Step Act allows the court to determine “extraordinary and

  compelling reasons independent of the Sentencing Commission’s criteria” and granting release of

  person sentenced to life because of several reasons, including issues with the judgment and

  disparity in life sentence). 22

          Therefore, courts may consider “the full slate of extraordinary and compelling reasons that

  an imprisoned person might bring before [it] in motions for compassionate release.” Brooker, 976



  20
     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
  conditions.html#smoking (Updated Feb. 22, 2021).
  21
     Brooker, 976 F.3d at 237 (“Neither Application Note 1(D), nor anything else in the now-
  outdated version of Guideline § 1B1.13, limits the district court’s discretion.”).
  22
     See also United States v. Castro, No. 11-CR-80187, 2021 WL 274304, *3 (S.D. Fla. Jan. 26,
  2021); DE 468 at n. 41.
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  F.3d at 237 (noting that a person’s rehabilitation “may also interact with the present coronavirus

  pandemic” to justify a sentence reduction). Courts have considered sentencing disparities, statutory

  changes in the law, and lengthy sentences in determining whether a person warranted

  compassionate release. 23 This Court should do the same.

         First, the Government praised, explicitly, Ms. Bozon’s impressive rehabilitation while

  incarcerated. DE 471 at 5 (highlighting Ms. Bozon’s “commendable record of rehabilitation in the

  Bureau of Prisons”). 24 The Government expressed its modified view of her culpability about an

  alleged kidnapping. Id. at 5-6. The two former Assistant U.S. Attorneys who prosecuted the case

  support Ms. Bozon’s release. Id. at 4-6; DE 486 at 1; 13-15; Exhibits 1, 2, 6. These concessions,

  along with the Government’s recognition of Ms. Bozon’s “quite serious” health conditions during

  the pandemic, are additional extraordinary and compelling reasons to warrant her release.

         Second, the Government supplied strong proof that Ms. Bozon’s sentence is inherently

  unfair and unjust. As the Government declared,

         [Ms. Bozon] was not a “drug kingpin” or head of a major, vertically-integrated drug
         trafficking organization such as have sometimes been prosecuted in this District,
         led by defendants such as defendants Gilberto Rodriguez-Orjuela, Bernal Madrigal,
         and Hernan Prada. Such drug kingpins dealt in airplane- and freighter-loads of
         cocaine, smuggling tens of thousands of kilograms into the United States over years
         of massive trafficking. This defendant’s activities, although not quantified in total,
         were not nearly of that scale.

  DE 471 at 5. 25 While the men the Government cited led organizations that involved violence, the

  Government confirmed that Ms. Bozon and her ex-husband did not engage in any violence against



  23
     Brooker, 976 F.3d at 238; United States v. McCoy, 981 F.3d 271, 286 (4th Cir. 2020); United
  States v. Haynes, 456 F.Supp.3d 496, 514 (E.D.N.Y. 2020).
  24
     For more evidence of Ms. Bozon’s rehabilitation, see DE 468 at 13-18 and corresponding
  exhibits #1, 2, 5, 6, 8.
  25
     See also Cano, 2020 WL 7415833, at *6 (comparing defendant’s life sentence, with no history
  of violence, with the considerably more lenient sentences heads of drug cartels and “many other
  notoriously violent drug kingpins” received).
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  others. Id. Ultimately, the Government concluded that Ms. Bozon’s sentence surpassed “even more

  serious offenders who have received sentences of less than life imprisonment.” Id. at 6. Ms. Bozon

  is serving a life sentence when people responsible for engaging in violence and larger scale drug

  conspiracies served less time. This sentencing disparity is an additional extraordinary and

  compelling reason to warrant Ms. Bozon’s release.

         Third, Ms. Bozon’s confinement has been marked by months of lockdowns, isolation in

  quarantine, fear of infection, and a lack of access to programming, rendering that time in custody

  particularly brutal and dehumanizing. 26 These harsh circumstances, on top of the stress from

  knowing she is high risk and could contract COVID-19 at any moment, has made Ms. Bozon’s

  time in custody psychologically unbearable. 27

         Finally, FCI Tallahassee’s ability to provide medical care has declined because of the

  pandemic. As one example, Ms. Bozon reports that when she suffered continued uterus pain and

  vaginal bleeding in February 2021, she requested a medical appointment. (Ex. 2: Emails with

  Medical Dept. dated Feb. 14-15, 2021). On February 15, 2021, the medical staff responded that

  Ms. Bozon could discuss this issue during a future medical visit. Id. As of today, Ms. Bozon has

  yet to see a doctor. While the bleeding has stopped, her ovary pain continues. With Ms. Bozon’s




  26
     In particular, “the pandemic, aside from posing a threat to [a person’s] health, has made [his]
  incarceration harsher and more punitive than would otherwise have been the case. This is
  because the federal prisons, as ‘prime candidates’ for the spread of the virus, have had to impose
  onerous lockdowns and restrictions that have made the incarceration of prisoners far harsher than
  normal.” United States v. Rodriguez, No. 00-cr-761-2, 2020 WL 5810161, at *3 (S.D.N.Y. Sept.
  30, 2020) (citations omitted).
  27
     Id.
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   history of endometrial concerns, 28 she fears what this pain may mean and whether it will get worse.

   Ms. Bozon has not received proper care for these medical issues.

          FCI Tallahassee is prioritizing the containment of COVID-19 above all else. The cost is to

   Ms. Bozon’s health. In United States v. Hope, 90-06108-CR-Williams (S.D. Fla. Mar. 5, 2020),

   the court granted compassionate release for a person who had served 30 years of a life sentence

   for drug traffickings and gun possession and needed surgery for a hernia that BOP refused to

   provide. Ms. Bozon’s medical problems, BOP’s inability to provide proper care, “the unexpectedly

   harsh punishment to which [Ms. Bozon] has been subjected,” 29 and other inequities constitute a

   sufficiently extraordinary and compelling combination of circumstances that warrant release.

   IV.    The Warden’s letter rejecting Ms. Bozon’s compassionate release was wrong.

          The Government claims the Warden’s September 25, 2020 decision not to release her was

   correct. Ms. Bozon was morbidly obese, hypertensive, had a history of smoking, and no vaccine

   when the Warden issued her decision. The Warden’s decision was wrong then. It is wrong now.

          WHEREFORE, under these extraordinary circumstances, Ms. Bozon respectfully requests

   that the Court grant compassionate release, reducing her life sentence to time served.

                                                 Respectfully submitted,

                                                 /s/ Carla Laroche
                                                 Florida Bar No.:121873
                                                 Public Interest Law Center, FSU College of Law
                                                 425 West Jefferson Street
                                                 Tallahassee, FL 32306-1601
                                                 Tel: 850-644-2722
                                                 Email: claroche@law.fsu.edu


   28
      DE 468-4 (Med. Records), including 6-22; 28-32; 100-118; 157-161; 318-20; 395 (describing
   endometrial biopsy results, concerns Ms. Bozon may have polyps in her cervix, and history of
   blood in her urine and uterus pain).
   29
      United States v. Henareh, No. 11-CR-93-1 (JSR), 2021 WL 119016, at *4 (S.D.N.Y. Jan. 13,
   2021). See also Cano, 2020 WL 7415833, at *7 (holding that BOP was not providing appropriate
   medical care for individual’s hypertension).
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                                    CERTIFICATE OF SERVICE

          I HEREBY certify that on March 11, 2021, undersigned counsel electronically filed the

   foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record or pro se parties, either via transmission

   of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

   counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                 /s/ Carla Laroche
                                                 Carla Laroche




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